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                      IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF COLORADO

 JAY CONNOR, individually and on                   Case No. 1:24-cv-02286
 behalf of all others similarly situated,


                       Plaintiff,                  JURY TRIAL DEMANDED
         v.                                        CLASS ACTION

 SERVICEQUIK INC. d/b/a
 ZING BUSINESS MANAGEMENT
 SOFTWARE


                       Defendant.

         UPDATE/SUPPLEMENT TO MOTION FOR ANTI-SUIT INJUNCTION

       Plaintiff wishes to inform the Court that the State Court in South Carolina held a

hearing on Defendant’s Motion to Amend and for Summary Judgment and on the

Motion to Vacate the Voluntary Dismissal on December 10, 2024. In sum, the Court

granted the Plaintiff’s motion seeking to dismiss the South Carolina Action without

prejudice, denied the Defendant’s Motion to Amend and for Summary Judgment, and

denied the Defendant’s motion for sanctions and attorneys’ fees. Accordingly, the

Plaintiff’s Motion for Anti-Suit Injunction is now moot. The Plaintiff seeks leave of the

Court to withdraw the Motion without prejudice.


       RESPECTFULLY SUBMITTED AND DATED this December 13, 2024.

                                             /s/ Andrew Roman Perrong
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                                  Attorneys for Plaintiff and the Proposed Class




                             CERTIFICATE OF SERVICE

      We certify that we filed the foregoing via ECF on the below date, which will

automatically send a copy to all attorneys of record on the case.


Dated: December 13, 2024

                                         /s/ Andrew Roman Perrong
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